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February 3, 2023


VIA ECF

The Honorable Colleen Kollar‐Kotelly
District Judge
United States District Court for the District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

Re:       United States v. Charles McGonigal (#1:23‐cr‐00021‐CKK‐1)
Your Honor:
Pursuant to the Court’s Order of January 31, 2023, Defendant Charles McGonigal hereby files this letter
indicating his consent to exclude time under the Speedy Trial Act, 18 U.S.C. § 3161, from February 24,
2023 to March 6, 2023. Please see the attached Waiver of Speedy Trial, indicating that the defendant has
been advised of his rights, signed by the defendant (Exhibit A).

Respectfully submitted,



David A. Super
Partner


cc (w/ attach.):
        All Counsel of Record via ECF




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AUSTIN    CONNECTICUT   DALLAS   DUBAI   HOUSTON     LONDON     NEW YORK     SAN ANTONIO   SEATTLE   WASHINGTON, DC
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         EXHIBIT A
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of February 2023, I electronically filed the

foregoing Waiver of Speedy Trial with the Clerk of the Court via the Court’s CM/ECF system.

Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.




                                           /s/ David A. Super
                                           David A. Super (D.C. Bar #429359)
                                           Counsel for Defendant
                                           Charles F. McGonigal
